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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION


RICHARD J. HILL ,

         Plaintiff,
                                                     Case No. 2:19-cv-159
v.
                                                     Hon. Hala Y. Jarbou
JUSTIN WONCH, et al.,

      Defendants.
____________________________/

                                          JUDGMENT

         This action came before the Court for a trial by jury. The issues have been tried and the

jury has rendered its verdict in favor of Defendant Wonch and against Plaintiff.

         Accordingly,

         IT IS ORDERED AND ADJUDGED that a judgment of “no cause” be rendered in favor

of Defendant Wonch and against Plaintiff pursuant to the Verdict Form (ECF No. 143) completed

by the jury.



Dated:     July 14, 2022                              /s/ Hala Y. Jarbou
                                                     HALA Y. JARBOU
                                                     UNITED STATES DISTRICT JUDGE
